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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      September 07, 2022
                             UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

GLORIA A. CASTRELLON,                      §
                                           §
       Plaintiff,                          §
                                           §
VS.                                        §
                                           §
MORTGAGE ELECTRONIC                        §
REGISTRATION SYSTEMS, INC., as             §
nominee for lender and lender’s successors § CIVIL ACTION NO. 7:22-cv-00196
and assigns; DEUTSCHE BANK                 §
NATIONAL TRUST COMPANY, as                 §
Trustee for Soundview Home Loan Trust §
2006-EQ1; and OCWEN LOAN                   §
SERVICING, LLC,                            §
                                           §
       Defendants.                         §
                                           §

                                         FINAL JUDGMENT
           The Court’s September 7, 2022, order dismissed all of Plaintiff Gloria A. Castrellon’s
claims with prejudice.1 The Court now renders final judgment in accordance with Federal Rule of
Civil Procedure 54. All issues in this case are resolved by the Court’s order. The Court holds that
Plaintiff takes nothing by this suit. Each party to bear its own costs. Any relief not expressly
granted in this final judgment is hereby DENIED. This case is terminated, and the Clerk of the
Court is instructed to close the case.
           IT IS SO ORDERED.
           DONE at McAllen, Texas, this 7th day of September 2022.


                                                    __________________________________
                                                                Micaela Alvarez
                                                           United States District Judge




1
    Dkt. No. 14.


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